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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

IN RE:                                       )      Chapter 13
                                             )
Debbie M. Downie,                            )      Case No. 20-04773
                                             )
         Debtor(s).                          )      Judge Cox

                                    NOTICE OF MOTION

The following persons or entities who have been served via electronic mail:
U.S. Bankruptcy Trustee: USTPRegion11.ES.ECF@usdoj.gov
Tom Vaughn, Chapter 13 Trustee

The following persons or entities who have been served via U.S. Mail:
See attached list.

      PLEASE TAKE NOTICE that on October 5, 2020, at 9:00 A.M., I will appear before the
Honorable Judge COX, or any judge sitting in that judge’s place, and present the Motion to
Modify Plan, a copy of which is attached.

        This motion will be presented and heard telephonically. No personal appearance in court
is necessary or permitted. To appear and be heard telephonically on the motion, you must set up
and use an account with Court Solutions, LLC. You can set up an account at
www.CourtSolutions.com or by calling Court Solutions at (917) 746-7476.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without a hearing.

                                    PROOF OF SERVICE

The undersigned certifies that a copy of this Notice of Motion and attachments were deposited at
the United States Post Office, Wheeling, Illinois, 60090, on or before September 14, 2020 at 5:00
p.m., with sufficient postage prepaid, or served electronically by the bankruptcy court, under
oath and under all penalties of perjury.

                                             /s/ Alexander Preber_______
                                             Alexander Preber, A.R.D.C. 6324520
                                             Attorney for the Debtor(s)
DAVID M. SIEGEL & ASSOCIATES
790 Chaddick Drive
Wheeling, IL 60090
847/520-8100
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The following persons or entities who have been served via U.S. Mail:

Debbie Downie
1415 W. 123es St., #2
Calumet Park, IL 60827
                                                   Zalutsky & Pinski, Ltd
Illinois Department of Employment                  111 W. Washington St., Ste. 1550
PO Box 4385                                        Chicago, IL 60602
Chicago, IL 60680
                                                   Premier Bankcard, Llc
Speedy Rapid Cash                                  Jefferson Capital Systems LLC Assignee
PO Box 780408                                      Po Box 7999
Wichita, KS 67278                                  Saint Cloud Mn 56302-9617

City of Chicago Department of Finance              Commonwealth Edison Company
c/o Arnold Scott Harris P.C.                       Bankruptcy Department
111 W. Jackson Ste. 600                            1919 Swift Drive
Chicago, IL 60604                                  Oak Brook Terrace, IL 60523

PEOPLES GAS LIGHT & COKE                           Portfolio Recovery Associates, LLC
COMPANY                                            c/o Progress One Financial, LLC
200 EAST RANDOLPH STREET                           POB 41067
CHICAGO, ILLINOIS 60601                            Norfolk VA 23541

nicor gas                                          IRS
po box 549                                         Internal Revenue Service
aurora il 60507                                    P.O. Box 7346
                                                   Philadelphia, PA 19101-7346
Jefferson Capital Systems LLC
Po Box 7999
Saint Cloud Mn 56302-9617

Illinois Department of Revenue
PO Box 19035
Springfield, IL 62794-9035

Federal Loan Servicing
PO box 69184
Harrisburg, PA 17106-9184
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In Re:                                         )       20-04773
                                               )
DEBBIE DOWNIE,                                 )       Chapter 13
                                               )
                        Debtor(s).             )       Hon. Judge COX

                                  MOTION TO MODIFY PLAN

         NOW COMES the Debtor, Debbie Downie, by and through her attorney, David M.

Siegel & Associates, LLC, to present this Motion, and in support thereof states as follows:

1)       This Court has jurisdiction pursuant to 28 U.S.C. § 1334 and Internal Operating

         Procedure 15(a) of the U.S. District Court for the Northern District of Illinois.

2)       On February 21, 2020, Debtor filed a voluntary petition for relief under Chapter 13 of

         Title 11 USC and Tom Vaughn was appointed Trustee in his case.

3)       Debtor’s Plan was confirmed on June 1, 2020. The confirmed plan requires monthly

         payments of $450.00, with general unsecured creditors receiving no less than 10% of

         their allowed claims. The Trustee has the Debtor paying 17.29% to the general

         unsecured creditors according to www.ndc.org.

4)       Debtor became unemployed in May 2020 because of the COVID-19 pandemic.

5)       Debtor now working again and can afford to make her plan payments going forward as

         reflected in the amended schedules I and J, but she cannot cure the default.

6)       Debtor seeks to modify her plan under § 1329 and defer the current default that has

         accrued due to her unemployment.
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7)        Debtor seeks to modify her plan under § 1329 and reduce the plan payment to $300 and

          the plan base to $14,131.10. This would still pay the general unsecured creditors no less

          than 10% of their allowed claims.

8)        Debtor seeks these modifications to her plan without the intent to commit fraud. Debtor

          seeks to continue with her plan and pay her creditors no less than 10% of their allowed

          claims and complete the plan within 60 months of filing.

          WHEREFORE, the Debtor, Debbie Downie, prays that this Honorable Court enter an

Order Modifying Debtor’s Chapter 13 Plan and for other such relief as the Court deems fair and

proper.

                                                       Respectfully Submitted,

                                                       /s/ Alexander Preber
                                                       Alexander Preber, A.R.D.C. 6324520
                                                       Attorney for the Debtor
